              IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TENNESSEE
                              AT KNOXVILLE




UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       No. 3:06-CR-170
                                              )
FERNANDO TIJERINA                             )


                          MEMORANDUM AND ORDER


              This criminal case is before the court on the defendant’s objections

to the magistrate judge’s report and recommendation [doc. 53]. The government

has responded [doc. 54], and the objections are ripe for the court’s consideration.

For the reasons discussed below, the objections will be overruled.

              Under 28 U.S.C. § 636(b), a de novo review by the district court of a

magistrate judge's report and recommendation is both statutorily and

constitutionally required. See United States v. Shami, 754 F.2d 670, 672 (6th Cir.

1985). However, it is necessary only to review "those portions of the report or

specified proposed findings or recommendations to which objection is made." 28

U.S.C. § 636(b); see also United States v. Campbell, 261 F.3d 628, 631-32 (6th

Cir. 2001).

              In his report and recommendation, the magistrate judge found that

any alleged overbreadth of the language in the search warrant did not require




Case 3:06-cr-00170-RLJ-CCS      Document 55       Filed 10/29/07   Page 1 of 3   PageID
                                      #: 28
suppression of items that were particularly described; that the warrant specifically

provided for the search of the shed on the defendant’s property; and that the

issue concerning the photographic identification of the defendant was moot given

that the government does not intend to use that evidence. In his objections, the

defendant complains only about the magistrate judge’s conclusion related to the

overbroad language of the search warrant.

             The search warrant states: “the items to be searched for include the

following, but are not limited to . . . .” The defendant contends that this language

did not limit the officers’ discretion as to what could be seized, rendering the

search warrant invalid on its face. In response, the government argues that the

magistrate judge was correct in concluding that the law in the Sixth Circuit does

not require suppression of the specific items listed in the search warrant;

suppression is required only for items seized pursuant to the overbroad language.

             In United States v. Blakeney, 942 F.2d 1001, 1027 (6th Cir. 1991),

the Sixth Circuit held that a “finding of overbreadth regarding the use of [a]

generic term . . . does not require suppression of all of the items seized pursuant

to the warrant. We believe the proper approach to the dilemma is to sever the

infirm portion of the search warrant from the remainder which passes

constitutional muster.” See also United States v. Greene, 250 F.3d 471, 477 (6th

Cir. 2001) (“infirmity due to overbreadth does not doom the entire warrant”). In

the instant case, the parties agreed that there were no items seized during the

                                          2


Case 3:06-cr-00170-RLJ-CCS     Document 55      Filed 10/29/07   Page 2 of 3     PageID
                                     #: 29
search that were not specifically listed on the warrant. Thus, under Blakeney

there is nothing that requires suppression.

            The court ADOPTS the report and recommendation [doc. 52] in its

entirety. It is hereby ORDERED that the defendant’s objections to the report and

recommendation are OVERRULED, and the defendant’s motion to suppress

evidence [doc. 39] is DENIED.



                                              ENTER:



                                                     s/ Leon Jordan
                                              United States District Judge




                                         3


Case 3:06-cr-00170-RLJ-CCS    Document 55      Filed 10/29/07   Page 3 of 3   PageID
                                    #: 30
